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          UNITED STATES COURT OF INTERNATIONAL TRADE
_______________________________________
                                       )
V.O.S. SELECTIONS, INC., PLASTIC       )
SERVICES AND PRODUCTS, LLC d/b/a       )
GENOVA PIPE, MICROKITS, LLC,           )
FISHUSA INC., TERRY PRECISION          )
CYCLING LLC,                           ) Court No. 25-00066
                                       )
           Plaintiffs,                 )
                                       )
v.                                     )
                                       )
DONALD J. TRUMP, EXECUTIVE             )
OFFICE OF THE PRESIDENT, UNITED        )
STATES, CUSTOMS AND BORDER             )
PROTECTION, PETE R. FLORES,            )
JAMIESON GREER, OFFICE OF THE          )
UNITED STATES TRADE                    )
REPRESENTATIVE, HOWARD LUTNICK, )
                                       )
           Defendants.                 )
                                       )

                                  NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that, pursuant to Rule 75(b) of the Rules of the United States

Court of International Trade, the undersigned, Sosun Bae, hereby enters an appearance as the

principal attorney of record for defendants in this action, and requests that all papers in

connection with this action be served at the address below.


DATE: April 17, 2025                                   Respectfully submitted,

                                                       YAAKOV M. ROTH
                                                       Acting Assistant Attorney General

                                                       PATRICIA M. McCARTHY
                                                       Director
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                                      s/Claudia Burke
                                      CLAUDIA BURKE
                                      Deputy Director
                                      JUSTIN R. MILLER
                                      Attorney-In-Charge
                                      International Trade Field Office

                                      s/Sosun Bae
                                      SOSUN BAE
                                      Senior Trial Counsel
                                      U.S. Department of Justice
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                                      Commercial Litigation Branch
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